                     EXHIBIT A




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                              DECLARATION OF AARON SOLOMON
        I, Aaron Solomon, have first-hand knowledge of the following facts:
        1.     The Instagram, Twitter, Facebook, and Youtube accounts at issue in the case

(collectively, the “Accounts”) have made numerous false and defamatory statements about me.

These false allegations include, but are not limited to the following, each of which will be

addressed in turn below:

a.      That I tried to kill Angelia (or “Angie”) Solomon prior to our divorce or otherwise
        physically abused her;
b.      That I sexually abused Gracie Solomon;
c.      That I physically and/or emotionally abused Grant and Gracie Solomon;
d.      That I murdered Grant Solomon and that used my “influence” to see that no investigation
        was done;
e.      That I bought grave sites for Angelia and Gracie without Angelia’s knowledge as part of
        some sort of “murder suicide plan;”
f.      That I was banned from participating in activities sponsored by the Williamson County
        Sports and Recreation Department because I was abusive to my wife, children, and
        others;
g.      That I was abusive and mean to children when coaching baseball;
h.      That I stole money from Grace Christian Academy and GCA “covered it up;”
i.      That I have filed “multiple bankruptcies;”
j.      That I have “swindled” unknown and unnamed people;
k.      That I was fired from Channel 4 because I had “inappropriate content on my computers
        and phone;”
l.      That I was diagnosed as a narcissist, sociopath, and/or sex addict;
m.      That I have repeatedly breached a restraining order put in place by the Williamson
        County Juvenile Court;
n.      That I abused some unnamed ex-girlfriend;
o.      That I “drugged” certain unnamed women”
        .




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       2.      First, as set forth in the Complaint, I have never abused, sexually or otherwise,

either of my children, Grant or Gracie Solomon. I deeply love my children and have tried my

best to be a good father to them throughout my divorce from their mother, Angelia Solomon.

       3.      Angelia Solomon is habitually untruthful and she hates me. Rather than try to co-

parent our children in a way that allows them to love and respect both parents, she has taken

every opportunity to teach them to hate and fear me as well. Please see the Declaration of Dan

Huffines, Angie’s own father, for confirmation of this.

       4.      This behavior has destroyed my relationship with my children. In order to

understand this dispute, it is important to understand the history between me and Angelia

Solomon.

       False Allegations that I tried to kill Angelia Solomon

       5.      During our divorce before Judge Phillip Smith, which was granted in August of

2014 Angelia Solomon leveled many accusations against me. She alleged that I tried to kill her

by strangling her with the cord from a blow dryer and she alleged that I sexually and otherwise

abused the children. These allegations were and are false. They were found not to be true by

Judge Phillip Smith, after a full hearing in which he heard and saw witnesses testify live and he

physically examined the evidence.

       6.      Prior to our divorce, I did not know or have any relationship whatsoever with

Judge Smith. During our divorce proceedings, I had no improper or extra-judicial contact with

Judge Smith of any kind. I have not had any contact whatsoever with Judge Smith since our

divorce. To my knowledge, my attorneys had no improper or ex parte contact with Judge Smith

of any kind regarding our divorce. He simply heard our divorce case like he hears thousands of



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others. The allegations that the Accounts are making that I improperly influenced Judge Smith

during the divorce proceedings are false and defamatory to me, my attorneys, and Judge Smith.

       7.      The Accounts have repeatedly alleged that Judge Smith was somehow “swayed

by my wealth and celebrity.” This allegation is ludicrous. At the time of our divorce, both

Angelia and I were unemployed (more on this below), I had not worked as a television

broadcaster in two years, was deeply in debt, and Angelia and I were in bankruptcy.

       8.      The events that immediately precipitated the divorce were as follows. On or about

2:30 am on May 9, 2013, Angelia and I were discussing our problems in the living room. She

said, “I’m going to go end it. I’ve been thinking about this. I know how to do it. I know what I’m

going to do.” This was not unusual. She had threatened suicide on other occasions, but had never

gone through with it. However, I was very concerned about these threats and they were one of

the main reasons I believed she needed serious psychiatric help.

       9.      On this night, our children were asleep in the master bedroom. She went into the

master bedroom and locked the door behind her. She then went into the master bath, and closed a

set of double French doors that does not lock. Within the master bathroom, there was an inner

chamber containing the toilet and the shower. She went in that chamber and locked the door.

Three to five minutes after she left the living room, I followed her but it took a few minutes to

find the keys to unlock the various doors. I found Angelia with a hair dryer cord wrapped around

her neck hanging from the shower in our master bathroom. She appeared to be unconscious and

was turning blue. I frantically unwrapped the cord and tried to revive her. When she came to, she

became semi-violent. She pushed me away, she kicked at me, saying “Don’t try to help me!” At

that point we left the master bath inner chamber and went back into the living room because I

didn’t want the children to be awakened by this. They were still asleep. Angelia screamed that


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she was going to “beat the hell out of me” for the next two and half hours until the kids woke up.

She proceeded to attack me. This all took place at roughly 2:30 in the morning.

        10.      In order to deescalate the situation and not wake the children, I left the house and

called her parents. Although her parents were aware that she had threatened suicide many times

in the past, she had never carried things this far and both her parents and I were extremely

concerned. I waited for daylight in the Kroger parking lot near our house, trying to decide what

to do next. Because I was concerned that she would not be truthful and tell people that I tried to

kill her, I decided to send her some texts in order to protect myself. A representative sample of

these texts are discussed below. I filed for divorce in Davidson County Circuit Court shortly after

this incident.

        11.      Angelia swore out an order of protection against me on or about May 11th, 2013

right after she got out of Parthenon Pavilion, falsely claiming that I had tried to kill her. In

addition to the false allegation that I had tried to kill her, she alleged that I had knocked her to

the ground in front of her parents. Her father has also put in sworn testimony that this allegation

is false and never happened. See Declaration of Dan Huffines. Although she later dismissed the

order of protection, in the divorce proceedings, she continued to maintain that I tried to kill her

and that she did not try to commit suicide.

        12.      On June 21, 2013, Judge Smith held a hearing in which he heard testimony on

Angelia’s Solomon’s allegations that I tried to kill her. A transcript of these proceedings are

attached to this declaration. The proof at the hearing showed the following:

a.      A declaration from Dr. Murphy was not admitted because it was hearsay and Angelia’s
        attorneys did not bring Dr. Murphy to appear in person at the hearing.
b.      Angelia’s own father testified that she was a compulsive liar, that he was extremely
        concerned for her mental health; that she had falsely reported to him and his wife that I


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        had been arrested for “knocking Grant to the ground;” that in every conversation he has
        with her she tells “some untruth” and “something is going to be stretched;” that she has
        had problems telling the truth for five to eight years; that he knows she needs
        psychological help; he and his wife had been talking to Angelia for “months and months”
        about needing psychiatric help; and that he was very concerned about her being with his
        grandchildren at the time of the hearing.
c.      Angelia had threatened suicide on multiple occasions in order to get me to “come home”
        and not end the marriage. After the filing of the divorce, Angelia wrote an email to me
        saying, “[t]his is my last writing on this earth;” and “I guess I will prepare for what exists
        for the cowards on the other side.” Angie testified in the hearing that she had let me think
        on other occasions that she was going to harm herself in order to get me to come home
        but that that “didn’t happen this time.”
d.      In order to protect myself from Angelia’s allegations that I had tried to kill her, less than
        an hour after the incident I texted her that I had a picture of her hanging from the shower
        head. In reality, I did not have such a picture because when I found her I acted
        immediately to save her, without thinking to take a picture. She replied, “You took a
        picture before you tried to help me? That just shows me where this has gone. Just go find
        another. I staged that anyway, but who cares. Use it against me.” She also texted “I’m
        beyond hysteria. Got to calm down. All I wanted was to be loved, nothing more.
        Unfortunately, I wouldn’t kill myself, but you would memorialize my faking it to get
        attention and use it against me instead of love me.” She further texted “I’m hysterical,
        and I’m ending it all.”
e.      In another text she stated, “You are taking y’all back to lake house to forever leave
        Mommy. I found one bullet in the chamber, and I left a note for the babies. I can’t live
        this way.” There were numerous texts in this vein. Although Angelia testified that she did
        not send these texts, Judge Smith asked to see her phone and located them on her phone.
f.      Judge Smith also located the following text from me to Angelia on her phone in response
        to these texts, “Please don’t do anything drastic. I love you. The kids love you…you need
        to get help….Seriously I am not playing any games. I’m worried about you.”
g.      Judge Smith also examined an email that Angelia sent me at this time that said, “Dr.
        Murphy is concerned for [the children] too. I am not suicidal. I made a bad choice for
        attention, but I expect – I accept responsibility for that choice and have learned why I did
        it and won’t repeat it.” Angelia testified that she stated this because “[i]n our marriage,
        when anything went awry or there was any violence, as long as I took ownership of it,
        Aaron would come home, and I would still have a marriage.”
h.      In response, Judge Smith asked her, “And this is a man who you said put a cord from a
        hair dryer around your neck?...Why would you want that man back?” Angie replied,
        “That’s a watershed moment, your Honor. I wanted him back because I love him.”
i.      In this hearing, Angelia testified that Grant was in the bed and not in the master bathroom
        at the time I allegedly tried to kill her. She does not testify that Grant witnessed this
        alleged “attempted murder.” She also did not make this allegation in her May 21, 2013,
        Petition for an Order of Protection. In fact, she told her friend, Lori Cameron, who



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        accompanied her to swear out the Order of Protection, that the children did not witness
        this incident. See Declaration of Lori Cameron.
j.      Roughly six months or so before the divorce, Angelia started saying false things to the
        children to make them take her side. The morning after the fake suicide, Angelia told the
        children that “daddy left in the middle of the night to go sleep with a woman.”
k.      During this time period, Angelia published or caused to be published on the internet that I
        had “stolen her babies,” and/or “kidnapped the children” in order to raise money. She
        raised a significant amount of money from these false statements--nearly $4,000. Judge
        Smith admonished her for doing this stating, “Why would you tell people he had stolen
        your babies? I mean, I signed a restraining order, ma’am. If anybody is to blame, it is
        me.” Angelia quickly backtracked and claimed that someone had “gotten into her
        Facebook Account.” She testified that she told the people that were helping her to “take
        this thing down. I don’t want to do anything to hurt Aaron, the children, or me.”
l.      Judge Smith examined evidence that Angelia had sent Grant a text from her phone
        number on his iTouch in violation of the Court’s restraining order, telling him that
        “Daddy had locked her in the house,” despite denying to the Court that she did so.
m.      Judge Smith stated from the bench that he found Angelia to be untruthful, that she needed
        mental health treatment, that he believed she did try to commit suicide, that he believed
        she did text her son in violation of his order, and that he was very concerned about the
        safety of the children in her care, and that he was concerned she might try to commit
        suicide again with the children in her care.
n.      Angelia was represented by counsel in this hearing and she did not appeal Judge Smith’s
        Order.
        False Allegations of Sexual, Physical, and Emotional Abuse of the Children

        13.    I have never sexually or physically abused my children. Despite numerous DCS

investigations opened as a result of such complaints from Angelia Solomon, each time the DCS

has concluded that these allegations are unfounded. Attached to this Declaration as Exhibit A is

a letter from DCS showing that it has never found me to be a perpetrator of child abuse or

neglect and there are no open investigations regarding me.

        14.    Many of these allegations were made at the time of the original divorce, were the

subject of a live hearing that took place on November 15, 2013, and were addressed by Judge

Smith in his order in January of 2014.




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        15.    At the November 15, 2013 hearing, Judge Smith required me to subpoena the

DCS caseworkers so that they would be present to testify. I did so.

        16.    Angelia had maintained that she was not the one making referrals of child abuse

to DCS.

        17.    After hearing the DCS caseworkers testify under oath in open court, Judge Smith

found as follows:

a.      Contrary to her representation to the Court, Angelia had in fact been the one who had
        made the referrals to DCS;
b.      That based on the behavior of Angelia Solomon, he found that she had misrepresented
        very important facts to the Court;
c.      Judge Smith did not order parenting time for Angelia because of his “great concern” with
        the false allegations made and her “overall lack of honesty” since the proceedings first
        began.
d.      Judge Smith found that the allegations that she made to DCS of physical and sexual
        abuse were “without any basis.”
e.      Judge Smith further found that “the Court has a long history and familiarity with this
        case…and everything presented to the Court leads the Court to believe that nothing of an
        inappropriate nature has occurred between Mr. Solomon and the parties’ minor child.”
f.      Four referrals had been made to DCS and all were returned unfounded after the DCS
        investigations.
g.      Based on his own personal observation of Angelia Solomon, Judge Smith was “quite
        concerned” that she continued to make unfounded allegations of abuse.
h.      After his observation of Angelia, the Court found that she “evidenced in the presence of
        this Honorable Court a severe mental health disability.”
i.      Judge Smith was concerned that Angelia continued to be estranged from her own family,
        that she had previously made allegations of abuse against her own parents, that the Court
        had heard her father testify and found him to be credible.
j.      As a result, the Court found that she continued to pose a threat of substantial harm to the
        children by her behavior and her obvious mental health issues.
k.      The Court continued the previous restraining order and allowed Angelia to have three
        phone calls per week with the children and six hours of supervised visitation on each
        weekend.



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l.      Angelia was represented by counsel and did not appeal Judge Smith’s Order.
        18.    Shortly after the Final Decree of Divorce was entered in Davidson County in

August of 2014, Angelia filed a Sworn Petition to Declare Children Dependent and Neglected

and for temporary Emergency Custody, on November 21, 2014 in the Juvenile Court for Coffee

County, Tennessee.

        19.    In this Petition, Angelia alleged the following:

a.      That I had abused Gracie by “inserting soap in her vagina.”
b.      That I “required” Gracie to sleep in my bed “wearing only her underwear.”
c.      That I insisted on accompanying Gracie to the bathroom, wiping her, and giving her a
        bath.
d.      That Grant was suffering from malnutrition.
e.      That Grant was showing signs of “muscle atrophy.”
f.      That Grant was not fed sufficient amounts of food;
g.      That I refused to provide the children with necessary allergy medication and antibiotics.
        20.    All of these allegations were and are false and I defended myself against them.

The children were loved and well-taken care of in my care. After several court hearings on

Angelia’s Petition, she voluntarily dismissed it six months later after my attorneys moved to

dismiss for failure to make out her claims. She was represented by legal counsel at the time she

dismissed her claims.

        21.    During this timeframe, DCS opened another investigation based on these

allegations, which was also returned “unfounded.”

        22.    Angelia has repeatedly made several false allegations of abuse involving Gracie

as a young child. The allegations that I “insisted on giving Gracie a bath” until she was seven or

eight years old are false. She bathed herself as children of that age do. The allegations that I

insisted on taking her to the bathroom and wiping her when she was as old as eight years old are


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false. She handled her own hygienic needs as children of that age typically do. The allegations

that I “forced her to take showers in [my] presence and remain nude so that [I] can personal dry

her hair and body” are false.

       23.     The allegations that I “digitally penetrated her” or “inserted a bar of soap in her

vagina” are false. It is true that I would occasionally give her a bath as a young child, but I did

not insist that her mother not bathe her. That is false. Her mother bathed her often while we were

still married. On the occasions that I did give Gracie a bath when she was very young, I washed

her body in an appropriate fashion and did not “fondle her” or insert anything into her vagina and

all suggestions that I did are completely false. Since these things did not occur, Gracie was never

told “not to tell,” contrary to the baseless allegations of the Account. These allegations were fully

investigated by DCS and determined to be unfounded. The allegations that I ever took

inappropriate pictures of Gracie in the bathtub are false. I have never done any such thing and

would not do so. Again, there has never been any evidence of this or any of the other allegations

of abuse. From here on out, I will refer to all of these allegations collectively as “the Bathtub

Claims.”

       24.     At this time, Gracie was only six or seven years old and would occasionally sit in

my lap. Because I knew that Angie made false claims of abuse, whenever Gracie sat in my lap, I

made sure to always have a pillow in my lap so that there could be no suggestion that there was

any inappropriate contact. If she ever came and got into my bed in the night as young children

do, I made sure that there were pillows down the middle of the bed to ensure a separation

between us.




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         25.   The allegations that I “forced” Gracie to sleep in my bed and would “berate her”

until she agreed are false. The allegation that I “groomed” Gracie for further sexual contact are

false.

         26.   I have also never physically or verbally abused either child. These allegations are

false.

         27.   The repeated allegations that I told the children their mother was dead are false. I

never told the children their mother was dead and would not have done so. After roughly five

months of no contact in 2013 at Judge Smith’s order, Angie was allowed to have supervised calls

with the children. Never, before, during, or after the five-month period did I ever tell either child

that their mother was dead. This allegation is another complete fabrication.

         28.   Three years later, Angelia filed another Petition to Adjudicate Children

Dependent and Neglected, and for Emergency Temporary Restraining Order on August 14,

2018, this time in the Williamson County Juvenile Court. She again alleged sexual abuse, mental

abuse, physical abuse, verbal abuse, as well as an “unhealthy atmosphere.” In essence, these

allegations were rehashings of the Bathtub Claims, and/or that I “yelled” at the kids and/or gave

Grant an “Indian sunburn.” While it is possible that I raised my voice to my children on

occasion, it certainly was not anything that rose to the level or abuse or exceeded normal, run-of-

the-mill parenting.

         29.   It was in this time frame that Angie first made allegations surrounding a trip to

North Carolina that Gracie and I made to watch Grant play baseball (the “North Carolina

Incident”). The allegations surrounding the North Carolina Incident have changed and morphed

over the last several years. They originally consisted of a claim that I slept in the same bed with



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Gracie with an “erect penis.” They later changed into allegations that I made various levels of

contact with her in the bed. And now, more recently, they have changed to an allegation that I

actually raped my child. All of these allegations are false. While it is true that Gracie and I slept

in the same bed in the hotel room, I placed pillows down the middle to separate us. And I

literally slept facing the opposite direction of Gracie. We both went to sleep and woke up the

next morning without incident. All allegations to the contrary are completely false and

fabricated.

       30.     After hearing the proof, the Juvenile Court found on October 31, 2018, that

       a.      Angelia had not proved the children were neglected;
       b.      It dismissed the allegations as regarding Grant Solomon;
       c.      It assessed costs against Angelia for the action.
       31.     On November 6, 2018, the Williamson County Juvenile Court found as follows:

       a.      After hearing testimony from both me and Angelia, the Court found that Angelia
               had failed to prove that Gracie was a dependent and neglected child;
       b.      That the allegations of sexual abuse were not proven and were largely the same
               allegations (the Bathtub Claims) that were made in the Davidson County divorce
               and the dismissed Coffee County case, and that were accessed by the Department
               of Children’s Services.
       c.      Likewise, DCS investigations resulting from the allegation of the North Carolina
               Incident were also returned as “unfounded.”
       d.      As a result, custody of the children was returned to me.
       32.     Despite having custody returned to me, I did not take custody of Gracie because

Angelia appealed the findings to the Williamson County Juvenile Court but both side’s lawyers

agreed that it should be appealed to the Williamson County Circuit Court. In addition, the

children’s counselor, Emily Anderson, requested that I not force custody and work on repairing

Gracie’s relationship (which had been damaged by her mother) in a counseling setting with her.




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On May 1, 2019, Angelia, through her attorneys appealed the decision to the Williamson Circuit

Court.

         33.   On May 29, 2019, Angelia, while represented by counsel, filed a “Notice of

Voluntary Non-Suit” and “Order of Voluntary Dismissal” on her own without notifying her

attorneys.

         34.   Her attorneys subsequently filed a Motion to Withdraw on July 18, 2019, stating

that Angelia was not cooperating or communicating with her lawyers and it was therefore

“unreasonably difficult to continue to represent” her. Her attorneys further stated in the motion

that she prepared and filed the Motion and Order of non-suit on her own without prior notice to

her counsel. The motion also stated that she told her counsel that she did not want to move

forward with the appeal. She emailed the Notice and Order of non-suit to her lawyers on May 29,

2019, and requested her file be provided to her on May 31, 2019, which apparently was done.

         35.   Three days later, on June 3, 2019, she changed her mind and withdrew the non-

suit. Nonetheless, the Williamson County Circuit Court allowed the appeal to proceed.

         36.   On December 16, 2019, I, though my attorneys, filed a motion with the Williamson

County Circuit Court to have Angelia’s appeal to be declared an “abusive civil action” as defined

in Tenn. Code Ann § 29-41-101 et. seq. because she continued to sue me and litigate the same

baseless accusations, despite having lost on these issues or dismissing her allegations several times.

         37.   After review of the motions, the entire case file, the arguments of counsel, the

testimony of the parties and the children’s guardian ad litem, the Williamson County Circuit Court

granted my motion, and found that the appeal was an abusive civil action, and enjoined Angelia

from suing me again for six years. See Exh. C.



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       38.     The Accounts have alleged that Judge Deanna Johnson was biased because she

went to our church. I did not and do not personally know Judge Johnson. I had never seen her

before my appearance in the courtroom during Angelia’s appeal. I have never had any improper

contact with Judge Johnson or, for that matter, any contact with her other than my appearance in

her courtroom on this case. I did not know her through church. As far as I am aware, my attorney

also did not have a personal relationship with Judge Johnson of any kind and had no inappropriate

contact with Judge Johnson. Any suggestion to the contrary is defamatory to my attorneys, Judge

Johnson, and me.

       39.     Although I have not been able to parent Gracie since August of 2018, and to

circumvent Judge Johnson’s Order, Angelia had her friend, Melanie Hicks, file a new Dependent

and Neglected Petition against me in Williamson Juvenile Court in October of 2020. This Petition

falsely alleged that the children had seen me be abusive to their mother and that this had resulted

in “multiple concussions for mother.” Again, I have never physically abused Angelia. These

allegations are completely false and were not even made in the divorce case, which was obviously

much closer in time to when we were married. There are no police reports or medical reports to

substantiate these baseless claims. Angelia had never even stated to her closest friends that I abused

her during the marriage. See the Declaration of Lori Cameron for confirmation. At this point,

Angelia and I have been divorced for nearly seven years. We had had numerous court cases,

hearings, and opinions in these intervening years. Angie has never produced any proof whatsoever

that I had physically abused her or that she has had multiple concussions due to anything I have

done to her. It is another false allegation. And, as stated above, she has filed a sworn petition that

terrible physical abuse occurred in front of her parents. Her parents have denied that this ever

happened. See Declaration of Dan Huffines.



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         40.      The Hicks Petition also re-alleges the false claim that I abused Gracie during the

North Carolina Incident. This allegation is false. Although there was only one bed in the hotel

room, I placed pillows down the middle of the bed to ensure there was a separation between us.

Absolutely nothing inappropriate happened. We went to sleep and woke up the next day without

incident.

         41.      The Hicks Petition further re-alleges the Bathtub Claims and that I touched Gracie’s

hair after Grant’s death1 in violation of her boundaries. Keeping in mind that by this time, Gracie

had not been in my care for more than two years. There can be no doubt that these incidents had

already been adjudicated. There was no allegation that there had been a rape during the North

Carolina Incident.

         42.      There was an unsworn doctor’s note by a Dr. Brian Leeper attached to the Petition

that stated Angie had informed him that I “had the diagnosis of psychopathic and narcissistic

personality disorders.2” This allegation has also been made repeatedly on the Accounts and is

completely false. There is no such diagnosis and absolutely no proof that there is. It is a complete

fabrication. The doctor further states he had been told [by Angie] there was a history of sexual

abuse (which was false), but noted that he was not making a judgment about the abuse allegations

because he had not witnessed them. There was no mention of an allegation of rape in the doctor’s

letter attached to the Hicks’ Petition, indicating that he had not been told that by Angie or Gracie

at that time.




1
 I admit that I did touch Gracie’s head during a “group hug” at the hospital after Grant’s death. It was the worst day
of any of our lives and I felt compelled to comfort my daughter in some small way.

2
 In addition to asserting falsely that I have been diagnosed with Narcissistic Personality Disorder, the Accounts
have stated that I was diagnosed with a “sexual addition.” This is also false and a complete fabrication.


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       43.     When it became clear that Angie, via Melanie, was not going to be successful in

this Dependent and Neglect matter, Gracie made the video that has been widely and repeatedly

published by the Accounts, alleging that I am a “rapist” among other horrible and false things.

       44.     Now the allegations about the North Carolina Incident have changed yet again into

an allegation that I physically raped Gracie. Again, this is absolutely false in all respects.

       45.     I do not blame Gracie for these ever-changing allegations. I believe she is merely a

victim of severe parental alienation by her mother. As confirmed by Angie’s own father, Dan

Huffines, she has been hearing horrible and untrue things about me from her mother since she was

a small girl. Nonetheless, the allegations are untrue and have been found to be untrue by various

courts and DCS investigations time and time again.

       False Allegations that I Murdered My Child, Grant Solomon

       46.     I did not murder my son, Grant Solomon, and I had nothing to do with the accident

that caused his death. I dearly loved Grant and was devastated by his death. I have been in trauma

counseling since he died to deal with my grief.

       47.     Not only have I suffered one of the most horrible fates that a parent can suffer—the

loss of child—to be repeatedly and publicly accused of killing Grant is nearly unbearable.

       48.     The Accounts have stated in multiple posts that there was no investigation of

Grant’s death and that I used my “influence” to see that no investigation was done. This is utterly

false. The Gallatin Police Department and District Attorney’s Office have performed two

investigations and found no evidence whatsoever of any foul play. See Declaration of Ronald

Blanton. I have no “influence” in Gallatin to improperly assert and I did not do so. I did not know

the police officers or anyone in the District Attorney’s Office. This allegation is false.


                                     15
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       49.     The Accounts have repeatedly publicized the false claim that I killed Grant “while

he was protecting Gracie.” This is utterly false. Grant died in a freak accident that occurred while

we were preparing to walk inside a facility for Grant to participate in pitching velocity training for

baseball. The accident occurred in broad daylight in a parking lot on a busy road, just a few feet

away from an open and operational business.

       50.     The Accounts have repeatedly asserted that I killed Grant because he had “turned

18” and was going to “testify against me as an adult.” If he had wanted to, Grant could have

testified against me at any time. Courts routinely allow older children to testify. There is absolutely

no reason that his turning 18 would provide me with a motive for killing a son that I loved (along

with Gracie) more than anything in the world. This allegation is false and fabricated.

       51.     The Accounts have repeatedly alleged that Grant “had no injuries other than a

blow to the head.” While I am no doctor and have no medical training, I can say that the doctors

told me that he had massive internal injuries from the accident. This allegation is false.

       52.     The Accounts have asserted that Grant’s baseball bat was “missing,” implying

that it was the so-called murder weapon. This allegation is false. Grant’s baseball bats were with

his gear after the accident as they should have been and were fully accounted for. I removed

them from his gear after the accident to publicly display at the visitation and funeral, of which

Angie would have been fully aware. Angie currently has Grant’s bats in her possession and

allegations to the contrary are false.

       False Allegations that I bought Grave Plots for Angie and Gracie Without Angie’s
       Knowledge
       53.     The Accounts have repeatedly stated that I bought grave plots for Angie, Gracie,

and myself without Angie’s knowledge, implying that I am planning some sort of murder-



                                     16
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suicide. This is ridiculous and false. The day that Angie and I selected Grant’s grave plot, we

jointly made the decision to select a plot where four plots could be side by side so that each of us

could be buried with Grant.

       54.     Angie insisted that I pay for these, which I did. While I could not pay for them the

day that we selected them because we had so many other expenses related to the funeral, we

placed them on “hold” the day they were selected in conjunction with Grant’s burial

arrangements. I went back and paid for them later and am currently paying for them on an

installment basis. Pam Stephens, a co-owner of Williamson Memorial, assisted us in the

selection of the plots and will confirm that this occurred with Angie’s full knowledge and

allegations to the contrary are false. See Pam Stephens’ Declaration.

       False Allegations that I have Been Diagnosed with Narcissism, Sociopathy, or Sex
       Addition
       55.     As stated above, the Accounts have repeatedly falsely alleged that I have been

diagnosed as a narcissist, sociopath, and/or sex addict. These allegations have no basis in fact

whatsoever. This is a complete fabrication.

       False Allegations that I have Been Banned from Williamson County Sports and
       Recreation Department Activities
       56.    The Accounts have repeatedly alleged that I have been banned from Williamson

County Sports and Recreation Department (Parks and Rec”) activities because of the way I

“treated my wife and children” and because I was “abusive to others” or similar false claims.

These allegations are false. Fortunately, the Parks and Rec Department keeps records of

individuals that have been banned and have confirmed that this allegation is false through the

Declaration of Gary Hathcock.




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        57.   Similarly, the Accounts have repeatedly falsely asserted that I am abusive and

mean to the kids that I have coached. This too is false. See the Declaration of Scott Erby, who

has coached with me and had a son on the same travel baseball team as Grant for three years. Mr.

Erby testifies that I have always been very supportive and encouraging to Grant as well as to the

other kids on the team. He further testifies that he has never seen me become verbally abusive or

aggressive with anyone. And finally, he testifies that he has witnessed me be a loving and

supportive father who provided a loving and positive environment for the children.

        False Allegations that I Was Fired From Channel 4 more than ten years Ago for
        Having “Inappropriate” Content on my Phone and Computer
        58.    The Accounts have repeatedly alleged that I was fired from Channel 4 more than

ten years ago because I had inappropriate material on my phone and computer. This is false in all

respects.

        59.    At the time, I was co-anchor of the Morning Show with Holly Thomson. I loved

this job and was extremely proud of the success and ratings growth that the show had

experienced during my tenure. Prior to my time on the Morning Show, I had manned the sports

desk.

        60.    The station hired a new general manager April 1, 2011. Two weeks later the new

director informed me that he wanted me to go back to sports. I was shocked by this development

and did not want to leave the morning slot.

        61.    Further, the news director wanted me to go on the air the next morning and

announce that I did not want to work mornings anymore and that I wanted to go back to sports.




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        62.      This was not true and I was very concerned that making this statement on air

would prevent me from obtaining a morning show job at another station if that was the route I

elected to go.

        63.      If I had agreed to make the statement, I could have remained at the station

handling sports.

        64.      Because I did not want to make the statement, I was forced by the news director

to leave the station.

        65.      Any allegation that I had inappropriate content on my computers and/or phones is

utterly false.

        66.      Lori Cameron, one of Angie’s best friends at the time, has confirmed that Angie

told her this same version of events at the time I left the station. Likewise, Holly Thompson’s

contemporaneous Facebook Post, attached as Exhibit B confirms that it was my choice to not go

back to the sports department.

        67.      The Accounts’ allegations with respect to this issue are completely false and

fabricated.

        False Allegations That I Stole Money From GCA Or “Swindled” People

        68.      The Accounts have repeatedly alleged that there was something improper about a

check that I received from Grace Christian Academy (“GCA”) totaling around $1,100 in 2013.

This allegation is false. GCA has confirmed that I was owed the money and there was nothing

inappropriate about the check. See Declaration of Robbie Mason, Headmaster of GCA. Mr.

Mason testified that any statement, insinuation, or implication that I sole or misappropriated

money from GCA is false.


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        69.     The Accounts have further made completely unsupported allegations that I

“swindled” unknown individuals. This allegation is false and completely fabricated.

        False Allegations that I Have Filed for Multiple Bankruptcies

        70.     The Accounts have alleged that I have filed for “multiple” bankruptcies, which is

false. Angie and I jointly filed for a Chapter 13 bankruptcy October 19, 2010 during our

marriage. That bankruptcy was ultimately converted to a Chapter 7 on April 28, 2011. This joint

filing is the only time I have ever filed for bankruptcy. See Declaration of my attorney, Paige

Waldrop Mills.

        71.     In contrast, Angie has filed for bankruptcy some eight times. It is false to connect

me with Angie’s unrelated bankruptcies and use this information to attempt to destroy my career.

        False Allegations That I Have Abused An Ex-Girlfriend Or “Roofied” Unknown
        Women
        72.     The Accounts have made the allegation that I abused an unknown ex-girlfriend

and that I drugged women. These allegations are false and are completely fabricated. There is no

evidence whatsoever that this ever occurred and it did not.

        73.     In this Declaration, I have attempted to address the most glaring lies that have

been repeated and published by Wynn Hicks, Anna Smith, Angie Solomon, Melanie Hicks,

Kami Abbate, and the other unknown individuals running the Accounts. This declaration should

not be considered an exhaustive list, however, as there are other false statements that I reserve

the right to address at a later date.

        74.     I declare under penalty of perjury and the laws of the United States that the

foregoing is true and correct to the best of my knowledge, information, and belief.




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                      EXHIBIT A




Case 3:21-cv-00498 Document 7-1 Filed 06/29/21 Page 23 of 34 PageID #: 320
Office of Child Safety
UBS Building, 10th Floor
315 Deaderick St.
Nashville, TN 37243



Aaron L. Solomon
2806 Manning Lane
Franklin, TN, 37064

Date: 06/11/2021

Dear Aaron L. Solomon

      We have received your request for a letter regarding your involvement with the
Department of Children’s Services.

As of the date of this letter, you are not listed by DCS as a substantiated perpetrator of child
abuse or neglect and we have discovered no open Child Protective Services investigations in
which you are named as an alleged perpetrator of abuse or neglect.




                                                              Sincerely,



                                                              Andrea Graves
                                                              Program Manager




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                      EXHIBIT B




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                                                                                                                                 20+




                                    Holly Thompson, WSMV
                                    Public Figure


                         Send Message



      Home           About          Photos         Videos         More



                                    Holly Thompson, WSMV
                                    April 20, 2011 ·

                          Dear friends- you may have noticed my long time friend Aaron
                          Solomon hasn't been by my side at the news desk. I wanted to let you
                          know Aaron has decided to resign. Some changes were coming &
                          although he was asked to stay w/ Channel 4, Aaron decided to leave &
                          concentrate on he & his wife's business. I will miss my friend as I'm
                          sure you will too. I appreciate your concern & your loyalty to Channel
                          4. -Blessings-Holly

                               31                                                                  65 Comments

                                         Like                       Comment                          Share

                          View 10 more comments

                                    Lori Hyde Dollar
                                    Who will do Cool School Now?? Are they going to stop
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                            th t? Document 7-1 Filed 06/29/21 Page 26 of 34 PageID #: 323
https://www.facebook.com/156891511017857/posts/dear-friends-you-may-have-noticed-my-long-time-friend-aaron-solomon-hasnt-been-b/201583433…   1/9
6/17/2021                                                (20+) Holly Thompson, WSMV - Posts | Facebook
                                    that?
                                                                                                                                 20+
                                    Like · 10y


                                    Dena Kay VanLeuvan
                                    I went to high school with Aaron. He is a gem of an
                                    individual. My best wishes to him and his furture
                                    endeavors. I was wondering where he was. Sad to see
                                    him go!!!
                                    Like · 10y

                                    Ricky Medley
                                    Thanks for letting us know Holly, i just learned today that
                                    he was not there anymore, it actually gave me a knot in
                                    my stomach, you and Aaron have become such a part of
                                    life, wakeing up in the mornings, you were such a great
                                    team, he will be missed gre… See More
                                                                                                             1
                                    Like · 10y

                                    Lori Qualls
                                    I am so sad to hear that! You guys were a great team! We
                                    will miss him!
                                    Like · 10y

                                    Atasha Reeves Tucker
                                    Awe... I wish him the very best!!! Who will take his place?
                                    Glad ur still with us Holly after all these years!!!!
                                    Like · 10y

                                    Kathy Strouse
                                    So with these changes will anyone else come up gone?
                                    Are you planning to stay for the changes? And how come
                                    everytime someone leaves, channel4 says it's because of
                                    changes? There's been a few leave and no changes have
                                    happened other then new people tak… See More
                                                                                                             3
                                    Like · 10y

                                    Beth Melin
                                    thanks for posting this, oh, what horrible news, I will
                                    certainly miss his smile and humor of a morning. It was
                                    good to wake up to the two of you every morning. I do
                                    wish Aaron the best and please tell him that. You were a
                                    great team. I'm glad that … See More
                                    Like · 10y

                                    Terry Freeze


                                    Like · 10y

                                    Shaun VanBergen
                                    I was wondering my wife will be disappointed but you
                                    are why I watch 4 anyway
                            Like · 10yDocument 7-1 Filed 06/29/21 Page 27 of 34 PageID #: 324
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6/17/2021                                                (20+) Holly Thompson, WSMV - Posts | Facebook

                                                                                                                                 20+
                                    Randy Huffman
                                    Sad. Hope the best for him
                                    Like · 10y

                                    Cyndy H Carroll
                                    Awww. I will miss him. Good luck Holly!
                                    Like · 10y

                                    John Hayes
                                    Amen Angela.... I have noticed that the big wigs make the
                                    worst decisions possible....Heck ...Look at our
                                    Government.( Case Closed )
                                    Love you Holly : )
                                    Like · 10y

                                    Terri Williams Pardon
                                    Aaron will certainly be missed, as is Tim, also. Glad to
                                    hear you'll still be with us!
                                                                                                             1
                                    Like · 10y

                                    Debbie Staggs Sherrill
                                    what ever happened to Tom Sellars
                                    Like · 10y

                                    Masonia Busby
                                    I will miss Aaron. He was so great. PLease let him know
                                    he will be greatly missed in the mornings. You two were
                                    great co anchors!
                                    Like · 10y

                                    Evie Cobb Carroll
                                    Aaron will be greatly missed. I so wish the best for him
                                    and his family. I hope everyone that's still at Channel 4
                                    get to stay if that's what they want to do. You all have a
                                    great team!
                                    Like · 10y

                                    Janice Clanton
                                    You two were great together. We will really miss him. The
                                    show will not be the same.
                                    Like · 10y

                                    Sherry Ray
                                    I hate to see Aaron go,he will really be missed.Just when I
                                    get used to someone knew,they leave,but I wish him the
                                    best.
                                    Like · 10y

                                    Ricky Medley
                            isint it strange , how you dont get this kind of feeling
                            from the other stations, channel 4 and its people have a
                            like family feeling, i think many of you would agree with
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                            this     Document 7-1 Filed 06/29/21 Page 28 of 34 PageID #: 325
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6/17/2021                                                (20+) Holly Thompson, WSMV - Posts | Facebook
                                    this
                                                                                                                                 20+
                                    Like · 10y


                                    Connie Gaddis Keen
                                    Awww...not Aaron! He will be missed but wish his wife
                                    and him the very best.
                                    Like · 10y

                                    Charlotte Bell
                                    I will miss him.
                                    Like · 10y

                                    Kevin J Dittenber
                                    well that sucks..... are they gonna ride you out too?
                                    hmmmmm ? Spill the beans Holly
                                    Like · 10y

                                    Darryl Jones
                                    I moved to Nashville in 2004, and channel 4 has been the
                                    only news for me, the other stations seem "bootleg".
                                    These changes have me and the other posters on here
                                    concerned, we wish Aaron the best as with Sara and Tim.
                                    They gave us news and made us la… See More
                                    Like · 10y

                                    Regina Warren
                                    Mornings just won't be the same. Wishing him nothing
                                    but the best!!
                                    Like · 10y

                                    Albert Dickinson
                                    No matter.. I am still watching WSMV news.
                                    Like · 10y

                                    Shigemitsu Matsumori
                                    Thank you for sharing Holly. I have been smelling
                                    something in the air. IT will be hard to find soneone who
                                    would Aaron's shoes. I have strong feeling the Solomons'
                                    would be "alright" we just don't like the change.. You two
                                    have spoiled US too much. A… See More
                                    Like · 10y

                                    Julia Phillips
                                    Aaron will be sincerely missed. He is so personable and
                                    upbeat...very much a part of lots of people's
                                    mornings...sure glad you are staying put Holly:):)
                                    Like · 10y

                                    Marsha Hassell Mayhugh
                                    I love Aaron in the morning. I miss him being on at
                                    night!!!!
                                    Like · 10y
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https://www.facebook.com/156891511017857/posts/dear-friends-you-may-have-noticed-my-long-time-friend-aaron-solomon-hasnt-been-b/201583433…   4/9
6/17/2021                                                (20+) Holly Thompson, WSMV - Posts | Facebook

                                                                                                                                 20+



                                    Marsha Hassell Mayhugh
                                    Don't like they r changing things. Like the way things are
                                    if its not broke leave it alone!!!!!
                                    Like · 10y

                                    Brittany Amanda
                                    Bittersweet...
                                    Like · 10y

                                    Ruth Vega
                                    oh boo!...I love watching you and Aaron in the mornings
                                    as I get ready for work...But I'm so happy he has a
                                    wonderful opportunity...can't pass that up!
                                    Like · 10y

                                    Carolyn Harper
                                    he will be missed, I wish him well
                                    Like · 10y

                                       Top Fan
                                    Keri Jackson Donaldson
                                    This makes me sad, it just won't be the same.
                                    Like · 10y

                                    Stacey Dyer
                                    what is the deal with the morning news..First we lost
                                    Ernie (who we loved and was great with you) and then
                                    Tim (again so funny, made getting up early fun) and now
                                    Aaron too (who again was awesome with you). Hopefully,
                                    you are not going anywhere (my hus… See More
                                    Like · 10y

                                    Teresa Stewart Deathridge
                                    Always sad to see our "friends" leave TV and radio! We
                                    feel you are all family. It's too bad media outlets don't
                                    give us a warning.We NEVER know who will be the next
                                    to leave our daily routines! Remember when our
                                    grandparents/parents TRUSTED folks like… See More
                                    Like · 10y

                                    Holly Crafton
                                    I hate this!!!!!!!
                                    Like · 10y

                                    Sonya Bunch
                                    We will miss him and wish him the best.
                                    Like · 10y

                                    Becky McEwen
                            Oh no...Document
              Case 3:21-cv-00498     I really liked
                                                  7-1Aaron  as 06/29/21
                                                        Filed  your side-kick...
                                                                          PageOh 30well,
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                                                  y (20+) Holly Thompson,
                                                                     y WSMV - Posts | Facebook
                                    wish him well.... As long as your not going anywhere!!!                                      20+
                                    Me and my Mom LOVE our Holly!

                                    Like · 10y

                                    Dawn Stones-Juarez
                                    I was wondering about that. I noticed this morning and
                                    said something to my hubby. I said, "Uh, did you notice
                                    Josh didn't say that he was in for Aaron Solomon, like he
                                    normally does?" He said "yeah, but what does that
                                    mean." I told him, "I think that … See More
                                    Like · 10y

                                    Anna Ruth Knight
                                    missing Aaron!!!!
                                    Like · 10y

                                    Mark Harris
                                    Hate to See Aaron go. I am sooooo glad that you are not
                                    leaving!!!
                                    Like · 10y

                                    Linda Michaels
                                    Please don't go anywhere Holly! I won't be watching the
                                    chan 4 morning news anymore if you leave!
                                    Like · 10y

                                    Debbie Gregoire
                                    Thank you so much Holly, I was wondering espcially after
                                    I saw Josh on the new with you. I hope the very best for
                                    him and his family.
                                    Like · 10y

                                    Joyce Underhill Carroll
                                    Hate to see him leave, you two were very good
                                    together!!
                                    Like · 10y

                                    Connie Sue Albright Proctor
                                    I will miss Aaron
                                    Like · 10y

                                    Joy Brown Troncoso
                                    Oh my it won't be the same...you know how it is when
                                    you get used to two people who click so well together.
                                    Like · 10y

                                    Tracie Beard Edens
                                    So sad. You two make a perfect pair in the mornings. He
                                    will be missed.
                                    Like · 10y


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                                    Michelle Bauer-Rice
                                    Hate to see him go.I am sooo behind. I thought he was
                                    on vacation or doing cool schools, which I am going to
                                    miss sooo much.. But he knows what is right for him &
                                    his family. I just wish him the best & hey we still have you
                                    Holly!! yeah!!
                                    Like · 10y

                                    Kristie Renee
                                    Holly this really sad to me.....channel 4 has major isuses
                                    with seem to great anchors.....for bob sellers now aaron
                                    solomon.....i mean really......i have a 15 yr old with down
                                    syndrome who admires all of u and can name each
                                    broadcaster and what time ea… See More
                                    Like · 9y

                                    Sherry Garrett Thurman
                                    We the people would like to protest against outrageous
                                    high health insurance cost and deductibiles . We want to
                                    know what president is going to do about these cost .
                                    Insurance premium should b based on family size and
                                    income . . The working American … See More
                                    Like · 4y

                                    Write a comment…




                       OTHER POSTS




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